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8                               UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
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11    NADINE JARRARD, an individual,           No. 2:19-cv-09557-JAK (RAOx)
12                Plaintiff,
                                               ORDER RE: JOINT STIPULATION TO
13          vs.                                CONTINUE DATES (DKT. 39)
14    G/O MEDIA, INC., and DOES 1 through
      50, Inclusive,
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                  Defendants.
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     Case 2:19-cv-09557-JAK-RAO Document 41 Filed 08/10/20 Page 2 of 2 Page ID #:372


1           Based on a review of the parties’ Joint Stipulation to Continue Dates (the
2     “Stipulation” (Dkt. 39)), sufficient good cause has been shown for the requested relief.
3     Therefore, the Stipulation is APPROVED, as follows:
4
5      Event                         Current Date                  Continued Date
6      Discovery Cut Off             August 31, 2020               November 30, 2020
7      Motion for Summary            October 19, 2020              January 19, 2021
8      Judgment Deadline /
9      Motion Cut Off
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11    IT IS ORDERED.
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14    Dated: August 10, 2020          _________________________________
15                                         John A. Kronstadt
                                           United States District Judge
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